                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CRIMINAL DOCKET NO.: 3:01CR66

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                      ORDER
JAMES EDGAR MUNSON (2),             )
                                    )
            Defendant.              )
___________________________________ )

       THIS MATTER is before the Court on the following pro se Motions filed by Defendant:

(1) Motion to Retain Current Counsel, filed October 2, 2006; (2) Motion to Be Added to the

August 22-23, 2006 Sentencing Calendar and Motion for a Subpoena, filed October 2, 2006; (3)

Motion for Miscellaneous Relief, filed August 28, 2006; and (4) Motion for Reconsideration,

filed August 28, 2006. These Motions are now ripe for disposition by the Court.

       On May 30, 2003, a jury found Defendant guilty of conspiracy to possess with intent to

distribute marijuana, in violation of 21 U.S.C. §§ 841, 846 (Count One), and conspiracy to

commit money laundering, in violation of 18 U.S.C. § 1956 (Count Two). On December 18,

2003, this Court sentenced Defendant to 121 months imprisonment on both Count One and

Count Two, with the terms of imprisonment to run concurrently. On March 4, 2004, Defendant

filed a Notice of Appeal. On May 17, 2006, the United States Court of Appeals for the Fourth

Circuit affirmed the Defendant’s conviction but remanded him for re-sentencing pursuant to

United States v. Collins, 415 U.S. 304 (4th Cir. 2005). The Mandate issued on June 13, 2006.

       On July 20, 2006, Richard Brown was appointed to represent Defendant for purposes of

his resentencing. Defendant is currently scheduled to be resentenced on Monday, November 27,

2006. Despite his representation by counsel, Defendant continues to file pro se Motions.



      Case 3:01-cr-00066-MOC          Document 417        Filed 11/09/06     Page 1 of 2
However, since Defendant is now represented by counsel, the Court will not consider

Defendant’s pro se Motions. If defense counsel believes that any or all of Defendant’s Motions

have merit, he may refile such motion(s) with the Court.

       IT IS, THEREFORE, ORDERED that Defendant’s Motion to Retain Counsel is hereby

DENIED.

       IT IS FURTHER ORDERED that Defendant’s Motion to be Added to August

Sentencing Calendar and Motion for Subpoena is hereby DENIED.

       IT IS FURTHER ORDERED that Defendant’s Motion for Miscellaneous Relief is

hereby DENIED.

       IT IS FURTHER ORDERED that Defendant’s Motion for Reconsideration is hereby

DENIED.



                                               Signed: November 8, 2006




      Case 3:01-cr-00066-MOC          Document 417         Filed 11/09/06   Page 2 of 2
